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                           UNITED STATES DISTRICT COURT
                           SOUTHERN DISTRICT OF FLORIDA
                            Case No. 21-24489-CIV-WILLIAMS

  LAMONT COLLINS,

        Plaintiff,

  v.

  CITY OF MIAMI BEACH, et al.,

       Defendants.
  _____________________________________/

                                           ORDER

        THIS MATTER is before the Court on Magistrate Judge Chris M. McAliley’s Report

  and Recommendation (DE 10). In the Report, Magistrate Judge McAliley recommends

  that Plaintiff’s Complaint (DE 1) be dismissed without prejudice. Plaintiff did not file

  objections to the Report, and the time to do so has passed.

        Having reviewed the record and the applicable law, it is ORDERED AND

  ADJUDGED as follows:

        1. The Report (DE 10) is AFFIRMED AND ADOPTED;

        2. Plaintiff’s Complaint (DE 1) is DISMISSED WITHOUT PREJUDICE.

        3. Plaintiff may file an amended complaint within FOURTEEN (14) DAYS of the

            date of this Order. Failure to timely file an amended complaint will result in this

            case being closed sua sponte.
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  DONE AND ORDERED in Chambers in Miami, Florida, this 31st day of May, 2022.




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